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                  INC. and SAMSUNG
                    TELECOMMUNICATIONS AMERICA, LLC
                 

                                              UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

                 

                  APPLE INC., a California corporation,          CASE NO. 11-cv-01846-LHK (PSG)

                                 Plaintiff,                      SECOND SUPPLEMENTAL
                                                                   DECLARATION OF CHRISTOPHER E.
                           vs.                                   PRICE IN SUPPORT OF SAMSUNG’S
                                                                   MOTION TO STRIKE EXPERT
                  SAMSUNG ELECTRONICS CO., LTD., a
                    Korean business entity; SAMSUNG                TESTIMONY BASED ON UNDISCLOSED
                  ELECTRONICS AMERICA, INC., a New               FACTS AND THEORIES
                    York corporation; SAMSUNG
                  TELECOMMUNICATIONS AMERICA,                    Date: June 26, 2012
                    LLC, a Delaware limited liability company,     Time: 10:00 a.m.
                                                                 Place: Courtroom 5, 4th Floor
                                  Defendants.                      Judge: Hon. Paul S. Grewal
                 
                                                                    PUBLIC REDACTED VERSION
                 

02198.51855/4785240.1                                                           Case No. 11-cv-01846-LHK (PSG)
                          SECOND SUPPLEMENTAL PRICE DECLARATION IN SUPPORT OF SAMSUNG’S MOTION TO STRIKE
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                   1        SECOND SUPPLEMENTAL DECLARATION OF CHRISTOPHER E. PRICE

                            I, Christopher E. Price, declare as follows:

                            1.      I am Of Counsel with the law firm of Quinn Emanuel Urquhart & Sullivan, LLP,

                    counsel for Samsung Electronics Co., Ltd., Samsung Electronics America, Inc. and Samsung

                    Telecommunications America, LLC (collectively, “Samsung”). I submit this second

                    supplemental declaration in support of Samsung’s Motion to Strike Expert Testimony Based on

                    Undisclosed Facts and Theories. I have personal knowledge of the facts set forth in this

                    supplemental declaration, except as otherwise noted, and, if called upon as a witness, I could and

                    would testify to such facts under oath.

                           2.      On May 30, 2012, 13 days after Samsung filed its Motion to Strike – which seeks

                  in part to strike portions of the reports of Apple's damages expert due to Apple's deficient,

                  incomplete, belated, and contradictory production of licensing information – Apple produced for

                  the first time four more patent license agreements. A true and correct copy of Peter J. Kolovos's

                  May 31, 2012 letter to Diane C. Hutnyan regarding the production is attached as Exhibit A. The

                  four patent license agreements are:

                           (a)     Document Bates numbered APLNDC-WH0000728153-8172, a true and correct

                  copy of which is attached as Exhibit B. This is not the final version of the draft license

                  agreement between Apple and Digitude,

                 

                                                              . (See Exs. U, V, and W to the Declaration of

                  Christopher E. Price in Support of Samsung's Motion to Strike, Dkt. No. 936.)

                           (b)     Document Bates numbered APLNDC-WH0000728173-8184, a true and correct

                  copy of which is attached as Exhibit C. Apple does not appear to identify the licensors in this

                  agreement – "Typhoon Touch Technologies, Inc." or "Raymond Tellini" – as licensors on its

                  most recent licensing chart, Bates numbered APLNDCY0000236371-R through APLNDC-

                  Y0000236405-R (Exhibit M to the Declaration of Christopher E. Price in Support of Samsung's

                  Motion to Strike, Dkt. No 936);

                 

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                   1          (c)    Document Bates numbered APLNDC-WH0000728185-8192, a true and correct

                   2 copy of which is attached as Exhibit D; and

                   3          (d)    Document Bates numbered APLNDC-WH0000728193-8218, a true and correct

                   4 copy of which is attached as Exhibit E.

                   5          3.     Three of the four patent license agreements involve licensors that appear to be

                   6 listed on Apple's most recent licensing chart, Bates numbered APLNDCY0000236371-R

                   7 through APLNDC-Y0000236405-R (Exhibit M to the Declaration of Christopher E. Price in

                   8 Support of Samsung's Motion to Strike, Dkt. No 936.) This brings to at least 19 the number of

                   9 patent licenses Apple has produced in this matter since the close of fact discovery, and brings to

                 10 nine the number of patent licenses Apple has produced just since Samsung filed its motion.

                 11           4.     Apple's Rule 30(b)(6) witness on certain licensing issues was deposed on

                 12 February 23, 2012. Fact discovery in this case closed on March 8, 2012. Samsung served its

                 13 opening and rebuttal damages reports on March 22 and April 16, 2012, respectively. Obviously,

                 14 these newly produced license agreements – as well as the other agreements discussed in my

                 15 original declaration – were not available to Samsung or its experts to formulate Samsung's

                 16 damages theories or respond to Apple's.

                 17

                 18           I declare under penalty of perjury under the laws of the United States of America that the

                 19 foregoing is true and correct.

                 20           Executed on May 31, 2012, at Los Angeles, California.

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                                                                       Christopher E. Price
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